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9 UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA
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12 Tim Haskin, Case No. CV-14-02901-SVW (Jemx)
13 Plaintiff, >[JBR©POSED] JUDGl\/[ENT
14 vs.
_ _ Courtroom: 6 _
15 US_AlrWays, Inc., a corporate Busmess Judge: Hon. Stephen V. Wllson
ent;ty and CWA-IBT Assoclatlon
16 Umon,
1 7 Defendants.
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Case 2:14-cV-O2901-SVW-.]EI\/| Document 128 Filed 10/27/15 Page 2 of 2 Page |D #:2559
1 >BR©B© JUDGMENT
2 WHEREFORE, on April 4, 2015, the Court dismissed With prejudice all of
3 Plaintiff Tim Haskin’s claims for relief except for his hybrid breach of the duty of
4 fair representation (“DFR”) claim against Defendant CWA-IBT Association and
5 breach of contract claim against Defendant US Airways, Inc. See Docket No. 55.
6 On September 25, 2015, the Court granted summary judgment in Defendants’ favor
7 on Plaintiff’ s remaining hybrid breach of contract and DFR claims. See Docket No.
8 126. As such, Plaintiff has no remaining claims for relief in this action.
9 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED AS
10 FOLLOWS:
11 Judgment is entered in favor of Defendants US Airways, Inc. and CWA-IBT
12 Association and against Plaintiff Tim Haskin. Plaintiff shall take nothing as a result
13 of his claims for relief, all of Plaintiff’ s claims for relief shall be dismissed With
14 prejudice, and Defendants shall recover their costs.
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